          Case 1:18-cv-00232-DCN Document 41 Filed 01/28/20 Page 1 of 1




                        UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF IDAHO


  JAMES C. HILLIARD, an individual,
                                              Case No. 1:18-cv-00232-DCN
                     Plaintiff,
       vs.
                                              ORDER
  MURPHY LAND COMPANY, LLC, an
  Idaho Limited Liability Company;

                     Defendant.


                                  I.   INTRODUCTION

      Pending before the Court is Defendant Murphy Land Company, LLC’s Motion for

an Award of Attorney Fees. Dkt. 34. Defendant seeks $27,295.00 in attorney fees. In

response, Plaintiff James C. Hilliard filed a statement of non-opposition to Defendant’s

Motion. Dkt. 39. As there is no dispute between the parties, the Court grants Defendant’s

Motion.

                                       II.   ORDER

   IT IS HEREBY ORDERED:

   1) Defendant Murphy Land Company, LLC’s Motion for an Award of Attorney Fees.

   (Dkt. 34) is GRANTED.

                                               DATED: January 28, 2020


                                               _________________________
                                               David C. Nye
                                               Chief U.S. District Court Judge


ORDER - 1
